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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                  Case No. 1:10-cr-159
                                    )
v.                                  )                  Honorable Janet T. Neff
                                    )
TIMOTHY RYAN GALBRAITH,             )
                                    )
                  Defendant.        )
____________________________________)


                             REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on August 10, 2010, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Timothy Ryan Galbraith entered a plea of guilty to count 2 of the Indictment

charging him with being a felon in possession of a firearm, in violation of 18 U.S.C. § 922(g)(1), in

exchange for the undertakings made by the government in the written plea agreement. On the basis

of the record made at the hearing, I find that defendant is fully capable and competent to enter an

informed plea; that the plea is made knowingly and with full understanding of each of the rights

waived by defendant; that it is made voluntarily and free from any force, threats, or promises, apart

from the promises in the plea agreement; that the defendant understands the nature of the charge and

penalties provided by law; and that the plea has a sufficient basis in fact.

               I therefore recommend that defendant's plea of guilty to count 2 of the Indictment be

accepted, that the court adjudicate defendant guilty of the charge, and that the written plea agreement
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be considered for acceptance at the time of sentencing. Acceptance of the plea, adjudication of guilt,

acceptance of the plea agreement, and imposition of sentence are specifically reserved for the district

judge.



Dated: August 10, 2010                         /s/ Joseph G. Scoville
                                               U.S. Magistrate Judge



                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than 14 days after the plea hearing. See W.D.
MICH . L.CR.R. 11.1(d). A failure to file timely objections may result in the waiver of any further
right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474 U.S. 140 (1985);
United States v. Branch, 537 F.3d 582, 587 (6th Cir.), cert. denied, 129 S. Ct. 752 (2008); Frontier
Ins. Co. v. Blaty, 454 F.3d 590, 596-97 (6th Cir. 2006). General objections do not suffice. Spencer
v. Bouchard, 449 F.3d 721, 724-25 (6th Cir. 2006); see Frontier, 454 F.3d at 596-97; McClanahan
v. Comm’r of Social Security, 474 F.3d 830, 837 (6th Cir. 2006).
